Fill in this information to identify the case:

Debtor name          Ark Laboratory, LLC

United States Bankruptcy Court for the:      EASTERN DISTRICT OF MICHIGAN

Case number (if known)        23-43403-MLO
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Comerica                                          checking                              5687                                 $100,272.30




           3.2.     Huntington                                        cnecking                              7845                                        $755.00



                    Comerica, gets swept to other
           3.3.     Comerica account daily                            checking                              5695                                           $0.00



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                  $101,027.30
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                      page 1


               23-43403-mlo             Doc 53        Filed 04/26/23            Entered 04/26/23 23:42:43                       Page 1 of 6
Debtor            Ark Laboratory, LLC                                                        Case number (If known) 23-43403-MLO
                  Name

           Description, including name of holder of prepayment


           8.1.     Newbsknob, 2 months prepaid                                                                                          $5,750.00




9.         Total of Part 2.                                                                                                           $5,750.00
           Add lines 7 through 8. Copy the total to line 81.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                  6,901,899.76      -                         3,582,142.30 = ....                $3,319,757.46
                                        face amount                            doubtful or uncollectible accounts




           11b. Over 90 days old:                   10,178,570.27       -                        6,007,510.84 =....                  $4,171,059.43
                                        face amount                            doubtful or uncollectible accounts



12.        Total of Part 3.                                                                                                      $7,490,816.89
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:           Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.
           General description                Date of the last              Net book value of         Valuation method used   Current value of
                                              physical inventory            debtor's interest         for current value       debtor's interest
                                                                            (Where available)

19.        Raw materials

20.        Work in progress

21.        Finished goods, including goods held for resale

22.        Other inventory or supplies
           consumable supplies
           used in testing                    4/7/2023                              $581,697.89                                        $581,697.89




23.        Total of Part 5.                                                                                                        $581,697.89
           Add lines 19 through 22. Copy the total to line 84.

24.        Is any of the property listed in Part 5 perishable?
Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                        page 2

               23-43403-mlo             Doc 53         Filed 04/26/23               Entered 04/26/23 23:42:43             Page 2 of 6
Debtor       Ark Laboratory, LLC                                                            Case number (If known) 23-43403-MLO
             Name


           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                10,388.08 Valuation method        cost               Current Value                  10,388.08

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture

40.       Office fixtures
          office fixtures                                                          $54,872.03       Book Value/Stra                   $54,872.03



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          office equipment                                                           $6,619.79      Book Value/Stra                    $6,619.79



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                           $61,491.82
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3

             23-43403-mlo              Doc 53         Filed 04/26/23             Entered 04/26/23 23:42:43              Page 3 of 6
Debtor       Ark Laboratory, LLC                                                         Case number (If known) 23-43403-MLO
             Name

          General description                                          Net book value of             Valuation method used    Current value of
          Include year, make, model, and identification numbers        debtor's interest             for current value        debtor's interest
          (i.e., VIN, HIN, or N-number)                                (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          other machinery                                                    $2,375,750.53           Book value Strai                $2,375,750.53



51.       Total of Part 8.                                                                                                       $2,375,750.53
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
           No
           Yes
53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
           No
           Yes
Part 9:      Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and             Net book value of             Valuation method used   Current value of
          property                              extent of              debtor's interest             for current value       debtor's interest
          Include street address or other       debtor's interest      (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. 6620 Highland Road,
                  leasehold
                  improvements                                                 $479,656.87                                             $479,656.87




56.       Total of Part 9.                                                                                                           $479,656.87
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.

57.       Is a depreciation schedule available for any of the property listed in Part 9?
           No
           Yes
58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?
           No
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                              page 4

             23-43403-mlo             Doc 53         Filed 04/26/23           Entered 04/26/23 23:42:43                  Page 4 of 6
Debtor        Ark Laboratory, LLC                                                          Case number (If known) 23-43403-MLO
              Name


            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                          Net book value of          Valuation method used   Current value of
                                                                        debtor's interest          for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill
           good will, intellectual property, etc.                                        $0.00                                        Unknown



66.        Total of Part 10.                                                                                                 unknown$0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 5

              23-43403-mlo              Doc 53         Filed 04/26/23          Entered 04/26/23 23:42:43               Page 5 of 6
Debtor          Ark Laboratory, LLC                                                                                 Case number (If known) 23-43403-MLO
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $101,027.30

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $5,750.00

82. Accounts receivable. Copy line 12, Part 3.                                                                 $7,490,816.89

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $581,697.89

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $61,491.82

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $2,375,750.53

88. Real property. Copy line 56, Part 9.........................................................................................>                        $479,656.87

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                       $0.00
                                                                                                                      unknown
90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                       $10,616,534.43             + 91b.              $479,656.87


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $11,096,191.30




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 6

                23-43403-mlo                     Doc 53             Filed 04/26/23                    Entered 04/26/23 23:42:43                      Page 6 of 6
